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                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF INDIANA

  UNITED STATES OF AMERICA                                Case No. 1:16-cr-00052-JMS-DML-1

                                                          ORDER       ON     MOTION FOR
  v.                                                      SENTENCE REDUCTION UNDER
                                                          18 U.S.C. § 3582(c)(1)(A)
  SEAN F. PIATT,                                          (COMPASSIONATE RELEASE)


        Upon motions of ☒ the defendant ☐ the Director of the Bureau of Prisons for a reduction

 in sentence under 18 U.S.C. § 3582(c)(1)(A), and after considering the applicable factors provided

 in 18 U.S.C. § 3553(a) and the applicable policy statements issued by the Sentencing Commission,

 IT IS ORDERED that the motions are:

 ☒ DENIED.

 ☐ DENIED WITHOUT PREJUDICE.

 ☐ OTHER:

 ☒ FACTORS CONSIDERED: See attached opinion.
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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                                  )
                                                            )
                                 Plaintiff,                 )
                                                            )
                            v.                              )     No. 1:16-cr-00052-JMS-DML
                                                            )
 SEAN F. PIATT,                                             ) -01
                                                            )
                                 Defendant.                 )


             Order Denying Second and Third Motions for Compassionate Release

         On November 16, 2020, Defendant Sean F. Piatt ("Piatt") filed his first Motion for

 Compassionate Release, pursuant to 18 U.S.C. § 3582(c)(1)(A), as amended by § 603 of the First

 Step Act of 2018, Pub. L. No. 115-391, 132 Stat. 5194, 5239 (2018). Dkt. 106. In denying this

 motion, the Court explained that Piatt's motion did not show that he is entitled to compassionate

 release under § 3582(c)(1)(A). The Court provided Piatt with a form Motion for Sentence

 Reduction Pursuant to 18 U.S.C. § 3582(c)(1)(A) (Compassionate Release), and explained that if

 Piatt renewed his motion, he must explain what facts, if any, had changed since he was sentenced

 in July 2020. Dkt. 107.

         Less than a month has passed, and Piatt is now before the Court with his second and third

 motions for compassionate release. Dkts. 108 and 109. 1 Piatt's second motion asserts that he has

 been diagnosed with a terminal illness, specifically untreated HIV. Dkt. 108. His third motion

 states that he needs to be released to care for his minor daughter who allegedly has been removed

 from her mother's custody. Dkt. 109. Piatt seeks immediate release from incarceration. Piatt was



         1
           The Court concludes that it does not require a response from the United States to resolve the issues
 set forth by Piatt's motions.
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 sentenced to an 8-month term of incarceration on July 17, 2020. The Bureau of Prisons' website

 reflects      that    Piatt's   anticipated   release    date    is    February     27,   2021.     See

 https://www.bop.gov/inmateloc/ (last visited Jan. 11, 2021).

            The general rule is that sentences imposed in federal criminal cases are final and may not

 be modified. 18 U.S.C. § 3582(c). Under one exception to this rule, a court may reduce a sentence

 upon finding there are "extraordinary and compelling reasons" that warrant a reduction. 18 U.S.C.

 § 3582(c)(1)(A)(i). The Court ultimately possesses broad discretion to determine what constitutes

 an "extraordinary and compelling reason" under the statute. United States v. Gunn, 980 F.3d 1178,

 1180–81 (7th Cir. 2020). That said, in keeping with the Seventh Circuit's direction in Gunn, the

 Court evaluates motions brought under the "extraordinary and compelling" reasons prong of

 § 3582(c)(1)(A) with due regard for the guidance provided in U.S.S.G. § 1B1.13 by deciding: (1)

 whether a defendant has presented an extraordinary and compelling reason warranting a sentence

 reduction; (2) whether the defendant presents a danger to the safety of any other person or to the

 community, as provided in 18 U.S.C. § 3142(g); and (3) whether the applicable sentencing factors

 in § 3553(a) favor granting the motion. Id. at 1180.

            Nothing in Piatt's pending motions for compassionate release warrant relief. First, the Court

 was aware of COVID-19, and Piatt's reported HIV diagnosis at the time his term of supervised

 release was revoked. See Dkt. 24, Presentence Investigation Report, ⁋ 61. In addition, Piatt denied

 having any children and there is no basis to conclude that he has any relationship with a minor

 daughter. Id. ⁋ 59. Under these circumstances, Piatt will not be released to care for a dependent.

 Accordingly, Piatt has not set forth any extraordinary and compelling reasons for his immediate

 release.
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        Given the Court's determination that Piatt has not shown extraordinary and compelling

 reasons to justify his release, whether Piatt is a danger to the community and whether the § 3553(a)

 factors weigh in favor of his release need not be discussed at length. Nonetheless, the Court

 concludes that the § 3553(a) factors also weigh against his release and that he is a danger to the

 community. The undersigned revoked Piatt's term of supervised release only 6 months ago and is

 fully aware of the facts of his case. Piatt has had his term of supervised release revoked three times.

 See dkts. 42, 63, and 96. Most recently, his supervised release was revoked because between June

 5-17, 2020, he refused to participate in sex offender treatment; he refused to comply with the rules

 of a residential reentry facility (late report, and refusing to wear a face mask); used marijuana and

 cocaine; and used alcohol. These violations occurred recently and reflect a disregard for the safety

 of the community. On these facts, the Court cannot conclude that the § 3553(a) factors warrant

 release at this time or that Piatt would not be a danger to the community if released.

        The second and third motions for compassionate release, dkts [108] and [109], are denied.

        IT IS SO ORDERED.




            Date: 1/12/2021


 Distribution:

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